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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                     CLARKSBURG



  UNITED STATES OF AMERICA ex rel.
  JOSEPH SEIKEL and TERENCE
  SEIKEL,

       Plaintiffs-Relators,

  v.

  DAVID B. ALVAREZ, APPLIED
  CONSTRUCTION SOLUTIONS, INC.,
  ENERGY TRANSPORTATION LLC,
  ENERGY RESOURCE GROUP, LLC,                         Civ. Action No. 1:23-cv-01
  ET360, LLC, BEAR CONTRACTING,
  LLC, BEAR UTILITIES, LLC, JASON P.
  HENDERSON, and JOHN DOES NOS., 1-
  50, FICTITIOUS NAMES,

       Defendants.




                         REPORT OF THE PARTIES PLANNING MEETING

          1.     Meeting Held: Pursuant to this Court’s March 1, 2023 First Order and Notice

 Regarding Discovery and Scheduling Conference (“Order and Notice”), all parties who have made

 an appearance held a phone meeting on March 31, 2023. The Parties agreed to move the Court for

 a stay pending the filing of the Amended Complaint and anticipated Motions to Dismiss. See Dkt.

 77. After the Court denied the Parties’ Motion to Stay (Dkt. 79), the Parties talked again via phone

 on April 13, 2023. The United States, having declined to intervene in this Action, is not a party to

 the litigation and was not present at either meeting. Consistent with its request and status as the

 real party in interest, the United States will receive this Report through ECF.



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        2.      Initial Disclosures: In accordance with the Court’s Order and Notice, the Parties

 will exchange initial disclosures on or before May 1, 2023.

        3.      Discovery Plan: The Parties agree that the scope of discovery shall include all

 issues related to liability, damages, and defenses raised in the pleadings. The parties initially agree

 that the maximum numbers of depositions and discovery requests shall be governed by Local Rule

 26.01(c).

        4.      Referral to Magistrate: The Parties do not consent to trial by a magistrate judge.

        5.      Waiver of Scheduling Conference: The Parties do not request a scheduling

 conference.

        6.      Local Rule 16.01(b) and 26.06 Analysis: The parties agree that this case is

 complex and requires monitoring in an individualized and case-specific manner. The Parties

 conferred in accordance with Local Rule 26.06 and agree to conduct discovery of ESI pursuant to

 Rule 26.06. The parties anticipate that ESI will include electronic documents, email, attachments

 to email, and various spreadsheets and PowerPoint files. Except as otherwise specified, production

 of ESI will be made with TIFF images and load files with preserved metadata. Spreadsheets,

 PowerPoint files, and similar materials will be produced in their native and electronic formats

 along with an associated placeholder TIFF image and endorsed with a unique Bates number. The

 parties agree that they will prepare and seek entry of a Federal Rule of Evidence 502(d) order

 governing the disclosure of privileged or work product materials and a standard protective order

 to permit the exchange of financial and bank account information.

        7.      Alternative Dispute Resolution: The Parties intend to explore alternative dispute

 resolution and will update the Court promptly with any developments.

        8.      Protective Order: The Parties agree to use a protective order. A copy of the


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 protective order is attached for entry by the Court.

        9.      Scheduling Order Checklist:


                                                         Dates Ordered Per Dkt. 74
  AMENDED COMPLAINT                      April 4, 2023 (filed on Docket April 12, 2023)
  DEFENDANTS’ RESPONSIVE                 May 12, 2023 (30 Days from filing of Amended
  PLEADING TO AMENDED                    Complaint)
  COMPLAINT
  PLAINTIFFS’ RESPONSE TO                June 12, 2023 (30 Days from filing of Motions to
  DEFENDANTS’ MOTION(S) TO               Dismiss)
  DISMISS AMENDED
  COMPLAINT
                                         Proposed Dates:
  JOIN PARTIES OR AMEND                  July 14, 2023
  PLEADINGS
  PLAINTIFF EXPERT                       September 28, 2023
  DISCLOSURE
  DEFENDANT EXPERT                       September 28, 2023
  DISCLOSURE
  COMPLETION OF DISCOVERY                November 29, 2023
  MEDIATION                              December 29, 2023
  DISPOSITIVE MOTIONS                    February 2, 2024
  RESPONSE TO DISPOSITIVE                Within 21 days of the filing of the motion
  MOTIONS
  REPLY TO DISPOSITIVE                   Within 14 days of the filing of a Response
  MOTIONS
  PRETRIAL DISCLOSURES, FED              April 1, 2024
  R. CIV. PRO. 26(a)3
    OBJECTIONS                           April 8, 2024
  PROPOSED VOIR DIRE, JURY               April 22, 2024
  INSTRUCTIONS, VERDICT
  FORMS, & SPECIAL
  INTERROGATORIES
     OBJECTIONS                          April 28, 2024


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  MOTIONS IN LIMINE              May 13, 2024
     OBJECTIONS                  May 20, 2024
  BIOGRAPHICAL SKETCHES          May 27, 2024
  JOINT PRE-TRIAL ORDER          May 27, 2024
  STIPULATION OF FACTS           June 3, 2024
  FINAL PRE-                     June 3, 2024
  TRIAL/SETTLEMENT
  CONFERENCE
  TRIAL DATE (including number   June 10, 2024, 15 trial days
  of days)




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         Prepared and submitted by:
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                                  CERTIFICATE OF SERVICE
        I hereby certify that on April 13, 2023, I caused the foregoing to be filed with the United

 States District Court for the Northern District of West Virginia via ECF. The foregoing was served

 via first class mail and electronically via email on the following:


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